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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WISCONSIN

DEMOCRATIC NATIONAL COMMITTEE and
DEMOCRATIC PARTY OF WISCONSIN,                           Civil Action No. 3:20-cv-249-wmc

                      Plaintiffs,

       v.

MARGE BOSTELMANN, JULIE M. GLANCEY,
ANN S. JACOBS, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., and MARK L. THOMSEN, in
their official capacities as Wisconsin Elections
Commissioners,

                      Defendants.


     PLAINTIFFS’ NOTIFICATION OF COUNSEL, WITNESSES, AND EXHIBITS

       Pursuant to this Court’s March 31, 2020 Order, Dkt. No. 144, Plaintiffs inform the Court

that attorneys John Devaney and Bruce V. Spiva will participate in the April 1, 2020 hearing via

Zoom. Attorney Devaney will serve as lead counsel during the hearing.

                                          WITNESSES

       Plaintiffs intend to call for cross-examination purposes Wisconsin Elections Commission

Administrator Meagan Wolfe. For all other testimony, Plaintiffs will rely on the declarations

submitted in support of their Motion for Preliminary Injunction, Dkt. Nos. 64 - 77, and Motion for

a Temporary Restraining Order, Dkt. Nos. 28 - 31, as direct witness testimony and evidence in this

case. Plaintiffs have not received any requests to provide these declarants for cross-examination.

                                           EXHIBITS

       Plaintiffs do not intend to put any exhibits on screen tomorrow. Rather, Plaintiffs will rely

on the exhibits submitted in support of their Motion for Preliminary Injunction, Dkt. No. 63-1 -

63-17, as substantive evidence in this case and refer to them by docket number if needed.
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Dated: April 1, 2020                 Respectfully submitted,


                                      /s/ Bruce V. Spiva
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                                      John Devaney*
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